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                       Exhibit K
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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


    Mahmoud KHALIL,

                 Petitioner,
                                                            Case No. 25-cv-01963
    v.                                                      (MEF-MAH)
    Donald J. TRUMP, et al.,

                 Respondents



                      DECLARATION OF IRA J. KURZBAN


         1.    My name is Ira J. Kurzban. I submit this declaration to provide context
  on the decision by the Department of Homeland Security to detain lawful permanent
  resident respondents in removal proceedings pursuant to allegations that the
  respondent committed prior immigration-related fraud or misrepresentations.

                                      Qualifications

        2.    I am an immigration practitioner and have been a partner in the law firm
  of Kurzban, Kurzban, Tetzeli, & Pratt P.A. of Coral Gables, Florida for over four
  decades, and serve as chair of the firm’s immigration department.

         3.     Since 1977, I have been active in all aspects of immigration law. I and
  the attorneys I supervise regularly practice in immigration courts across the country,
  as well as in federal courts in immigration-related matters.

          4.    I am the author of Kurzban’s Immigration Law Sourcebook, one of the
  most widely used immigration-law secondary sources in the United States. The book
  is in its Nineteenth Edition (2024) and is regularly cited by federal courts. See, e.g.,
  Al Otro Lado v. EOIR, 120 F.4th 606, 627 n.16 (9th Cir. 2024); Gonzalez Hernandez
  v. Garland, 9 F.4th 278, 289 (5th Cir. 2021) (Costa, J., dissenting); De La Paz v.
  Coy, 786 F.3d 367, 376 (5th Cir. 2015); Gonzalez v. Holder, 771 F.3d 238, 243 (5th
  Cir. 2014); United States v. Juarez, 672 F.3d 381, 389 (5th Cir. 2012); Gonzalez v.
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  Reno, 212 F.3d 1338, 1355 (11th Cir. 2000); Viveiros v. Holder, 692 F.3d 1, 3 (1st
  Cir. 2012); Patel v. Ashcroft, 378 F.3d 610, 612 (7th Cir. 2004); Socop-Gonzalez v.
  INS, 208 F.3d 838, 842 n.3 (9th Cir. 2000).

         5.     As a practicing attorney, I am actively involved in the immigration bar.
  I am the Past President of the South Florida Chapter of the American Immigration
  Lawyers Association. I was the national president of the American Immigration
  Lawyers Association in 1987-88, and I thereafter served as its General Counsel. The
  American Immigration Lawyers Association is an affiliate organization of the
  American Bar Association. It has over 14,000 members in 35 chapters in the United
  States and four international chapters. I am also certified by the Florida Bar as a
  specialist in immigration law and served on the first committee to draft and grade
  the certification exam for Florida lawyers.

        6.     Since 1977, I have litigated a variety of immigration-related cases and
  over 75 published decisions in the federal courts. Among other cases, I have been
  counsel of record in the United States Supreme Court in Patel v. Garland, 596 U.S.
  328 (2022); McNary v. Haitian Refugee Center, Inc., 495 U.S. 479 (1991);
  Commissioner v. Jean, 496 U.S. 154 (1990); and Jean v. Nelson, 472 U.S. 846
  (1985).

         7.    Through my over four decades of experience as a practitioner in both
  the federal courts and immigration courts, I am well qualified to opine on how the
  immigration-court system differs from the federal courts and the other matters
  addressed below.

             Framework for Detention Pending Removal Proceedings

        8.     The Immigration and Nationality Act (“INA”) authorizes the detention
  of noncitizens who are placed in removal proceedings. See 8 U.S.C. 1226(a).

         9.    In some cases, the INA makes detention mandatory—as in the case of
  certain “criminal aliens” 8 U.S.C. § 1226(c) or certain suspected terrorists, id.
  § 1226a.

        10. If a noncitizen placed in removal proceedings is not subject to any of
  the mandatory detention grounds, the Department of Homeland Security need not
  detain the noncitizen pending removal proceedings. Id. § 1226(a).
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         11. Noncitizens who are arrested by ICE, issued a Notice to Appear, and
  placed into removal proceedings are routinely released on their own recognizance
  by ICE after consideration as to whether they pose a flight risk or danger to property
  or persons. See, e.g., 8 C.F.R. § 236.1(c)(3). Such noncitizens appear at their removal
  proceedings in a non-detained setting before immigration judges who handle the so-
  called “non-detained docket.”

        12. If ICE declines to release a noncitizen on their own recognizance, a
  noncitizen who is not subject to mandatory detention may seek a bond from the
  immigration judge.

         13. An immigration judge should grant bond unless the noncitizen poses a
  flight risk or a danger to the community.

        14. In practice, lawful permanent residents charged with removability
  grounds that do not subject them to mandatory detention are in most cases not
  detained pending their removal proceedings—particularly when the allegations and
  removability charges leveled against them do not suggest a danger to the community.

        15. In my experience, it is extremely unusual for a lawful permanent
  resident charged with removability under INA § 237(a)(1)(A) for being inadmissible
  at the time of admission for committing immigration fraud or making material
  misrepresentations to be detained pending removal proceedings absent aggravating
  circumstances such as a criminal record.

        16. Such detention would be even more unusual if the lawful permanent
  resident has strong ties to the United States, such as a U.S. citizen spouse or child.

         17. Additionally, in my experience it is rare for ICE to amend a Notice to
  Appear in a case involving a lawful permanent resident to add additional factual
  allegations and charges of removability particularly given the nature of the
  allegations added in this case.

         18. Based on the above, the Government’s decision to amend the
  Petitioner’s Notice to Appear to add an allegation that he obtained residency by
  committing fraud or misrepresentation through failure to disclose organizations is
  extraordinarily unusual.
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       I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING
  IS TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE AND BELIEF.


  Dated: June 4, 2025                    ____________________________
                                         Ira J. Kurzban
